              Case 3:23-cv-00636
9/26/24, 3:58 PM                             Document 134-9       Filed
                                                       Haslam Law Firm LLC09/26/24
                                                                           Mail - Re: HudsonPage
                                                                                            v. Racer, 1  of 6 PageID #: 2187
                                                                                                      et al.



                                                                                                Tyler Haslam <tyler@haslamlawfirm.com>



  Re: Hudson v. Racer, et al.
  1 message

  Tyler Haslam <tyler@haslamlawfirm.com>                                               Mon, Sep 16, 2024 at 8:53 AM
  To: "Stebbins, James C." <jstebbins@flahertylegal.com>
  Cc: Kerry Nessel <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>,
  "Burdette, Danica N." <dburdette@flahertylegal.com>

     Your position is noted. Kerry and I will discuss this morning and let you know.

     Are you going to be able to upload the full contents of the flash drive to the Dropbox link I sent?

     On Mon, Sep 16, 2024 at 8:46 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

       Tyler:


       It is not my desire to bother the Court with this matter either. Respectfully, you could have asked Mr.
       Racer about his orbital fracture when you deposed him the first time and the right questions were not
       asked. I don’t think that you ever proposed a protective order at any time.


       Nevertheless, as a compromise, I will offer to permit a deposition of Mr. Racer by written questions under
       Rule 31 or I will have my client answer interrogatories targeted at the issue(s) you describe and I will do
       what I can to get answers promptly and not take 30 days. Doing one of this things will allow you to get the
       discovery you want with the least impact on his training.


       Let me know if one of these options works for you.


       Best,


       Jamie



       James C. Stebbins
       Member




       Flaherty
       FLAHERTY SENSABAUGH BONASSO PLLC

       P.O. BOX 3843

       CHARLESTON, WV 25338


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       CHARLESTON, WV 25301

       PHONE: 304.205.6388

       FAX: 304.345.0260




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       From: Tyler Haslam <tyler@haslamlawfirm.com>
       Sent: Friday, September 13, 2024 4:11 PM
       To: Stebbins, James C. <jstebbins@flahertylegal.com>
       Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall
       <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>
       Subject: Re: Hudson v. Racer, et al.




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        Jamie,Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his orbital fracture and brain bleed.Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by t ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




       Jamie,



       Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his
       orbital fracture and brain bleed.



       Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by
       the Southern District.



       We are trying to resolve this without court intervention, and we would like to avoid the unnecessary cost and delay
       associated with trying to compel his deposition through the court. Given the time constraints placed on depositions by
       order this week, we will ask the Court to intervene Monday morning if this issue cannot be resolved amicably between
       now and then.



       Tyler



       On Fri, Sep 13, 2024 at 4:00 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                                     Kerry:




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                                                       Haslam Law Firm LLC09/26/24
                                                                           Mail - Re: HudsonPage
                                                                                            v. Racer, 3  of 6 PageID #: 2189
                                                                                                      et al.
          I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily a second time. He
          is not trying to be difficult but we think that the request is not fair or reasonable for many reasons.


          First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at 9:00 in the morning
          and when Plaintiff decided to terminate his deposition at 2:15 p.m., that was not because of any request
          by Mr. Racer or his counsel to stop and we would have made him available for the remainder of the
          afternoon if necessary. We had no discussion at that time that there was any reason to leave the
          deposition open.


          Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another deposition so that
          you can ask him questions about the KCSD investigation report. You have known about the existence
          of that report since it was first disclosed by the County Defendants in this case in their initial disclosures
          on July 2. 2024. The disclosures by the County Defendants indicated that the report would be made
          available to the other parties upon entry of a Protective Order and I do not believe that Plaintiff ever
          submitted any proposed Protective Order to obtain those documents prior to deciding to take Mr.
          Racer’s deposition.


          I would also note that Mr. Haslam already asked Mr. Racer’s questions about that investigation during
          his deposition.


          I am also aware of case law holding that if a party chooses to prematurely take a deposition before
          document discovery is complete, that is not an excuse for subjecting a witness to a second deposition.


          Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated by the parties.


          Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police Academy where he
          hopes to graduate on December 13, 2024. I understand that this training is taxing both mentally and
          physically and I do not think that it is fair to ask him to prepare for and undergo a deposition (especially
          a second deposition) while he is in the middle of that training.


          Based upon all of the above, I must respectfully decline your request. If you would like to discuss this
          further, please give me a call.


          Have a nice weekend everyone.


          Best,


          Jamie



          James C. Stebbins
          Member

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          PHONE: 304.205.6388

          FAX: 304.345.0260




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          From: Kerry Nessel <nessel@comcast.net>
          Sent: Thursday, September 12, 2024 12:41 PM
          To: Stebbins, James C. <jstebbins@flahertylegal.com>
          Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
          tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
          Subject: Re: Hudson v. Racer, et al.




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          Thanks for thorough response.



          Sent from my iPhone



                  On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                  ﻿

                  Hi Kerry:


                  I need to look at some things regarding this request and am under a deadline in another
                  matter today and I also want to try to reach out to my client about it. I will give you a full
                  response tomorrow even if I am unable to reach him. I did not want you to think I was
                  ignoring this request since you asked for an answer ASAP.


                  Best,
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r-7990019649110879533&simpl=ms…   4/6
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                  Jamie



                  James C. Stebbins
                  Member




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                  From: KERRY NESSEL <nessel@comcast.net>
                  Sent: Wednesday, September 11, 2024 2:17 PM
                  To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
                  <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
                  Cc: tyler@haslamlawfirm.com
                  Subject: Hudson v. Racer, et al.




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                   Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                  Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal
                  affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions.

                  As the Court entered and order yesterday extending the deposition deadline to Sept 27 and the recent
                  disclosure, we believe our request is reasonable.

                  Please let me know ASAP.


https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r-7990019649110879533&simpl=ms…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       5/6
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                  Additionally, considering Racer had been brutally battered by no less than 5 men at a bar and suffered
                  significant physical injuries, including a brain bleed and broken orbital bone on his left side, we request
                  his medical records concerning the same.

                  Further, we are willing to travel to the WVSP academy to conduct this deposition.

                  Finally, please provide us dates for your availability to depose Lt. Pile. I assume this will have to take
                  place in Chas.

                  Thanks.

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